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                                                                                              _                ~"'~   •1



                                         UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA                           ~-~= , s                p
                                                                                              ~.,-~ -
                                                              CASE NUMBER:
UNITED STATES OF AMERICA                                                                                       ,.3
    ~Y~~ I  V.
                                                  PLAINTIFF     ~c~ MAr~     L
                                                                                          ~
                                                                                          ,~         -~


                                                                      REPORT COMMENCING CRIMINAL
     ~
     s                                                                            ...ACTION
                                                                                  ,                        _
USMS#                                            DEFENDANT

TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

1• Date and time of arrest:    ~ ( ~2g~ 20l~                  ~jv~               ~ AM   ❑ PM

2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
   any gther preliminary proceeding:      ~ Yes     [~No

3. Defendant is in U.S. Marshals Service lock-up (in this court building):    [ 'Yes     ❑ No

4. Charges under which defendant has been booked:

     `(~-fl~e 5o US c ''1~S ,~0 1~~~~ ~ 13~72i                                          7~~(~ (g USC ~3~
5. Offense charged is a:      ~ Felony      ❑Minor Offense           ❑Petty Offense      ❑Other Misdemeanor

6. Interpreter Required:      ~No    ❑Yes         Language:

7• Year of Birth: ~~

8. Defendant has retained counsel:        ~ No
        Yes      Name:     ~          p~,                             Phone Number: 0~~ J ~~`~~C'7LJ


9. Name of Pretrial Services Officer notified:      n,e~ ~c~      ~~~ ~,,.~ p ~;n S

10. Remarks (if any):


11. Name: SGy~~ ~~,~V~                                  (please print)

12. Office Phone Number: 3~ ~ ~ 4'~ ~ ~6~6~                              13. Agency:

14. Signature:    ~r.                                                    15• Date: I ~L ~ Z~ 241


CR-64(05/18)                              REPORT COMMENCING CRIMINAL ACTION
